Case 1:03-cv-01267-.]DT-STA Document 35 Filed 06/21/05 Page 1 of 3 Page|D 37

/`/:C§ s
\""/ A
`~/"?)` ("\
IN THE UNITED STATES DISTRICT COURT -_t"{/& ‘-\\
WESTERN DISTRICT OF TENNESSEE " d f
EASTERN DIVISION

FRANCES SHELTON and
JIMMIE LAVERNE FRANCE,

 

Plaintiffs,

NO. 1-03-1267-T-An
JURY DEMAND

VS.

ETHICON, INC., JOHNSON & JOHNSON,
XYZ DISTRIBUTION COMPANY, and
JOHN DOE,

Defendants.

\_/\.,./`\_/\_/\_/\_/\-_/\_/\_/\_J\_/\_¢

ORDER OF DISMISSAL WITH PREJUDICE

This date came the Plaintiffs and the Defendants in the captioned cause by and through their
counsel of record and stated to the Court that all issues under the original Complaint have been
resolved by way ofcompromise, and they jointly request that the Court enter an Order of Disnn`ssal
With Prejudice.

IT lS, THEREFORE, ORDERED, ADJUDGED and DECREED that the within action be
and the same is hereby dismissed With prejudice and statutory costs of this cause are taxed to the

Defendants upon which execution may issue.

¢¢~
Emered this the 3_ §§ or ®/W‘-/ , 2005.
y
®/)M 23 -' M

JAMES IYTODD, U.s. DIsTRiCT JUDGE

5555-40-CHB; Page l
This document entered on the docket sheet tn compliance

with nme 58 and,'or,?g (a) FRCP on jl§Q 19 1'- g‘)§;

Case 1:03-cv-01267-.]DT-STA Document 35 Filed 06/21/05 Page 2 of 3 Page|D 38

APPROVED FOR ENTRY:

%ZWM/'

WAL W. BUSSART
Attorney for Plaintiff

520 North Ellington Parkway
Lewisburg, TN 37091

CQUQQM)( li )@Ulttdil "_'r§

CHARLES H BARNETT, III 008721 /

LisA A. HoUsToN_ 204?7 /}LLOOI
Attomey for Defendants, Ethicon, lnc. and 'OW
Johnson & Johnson

P.O. Box 2004

Jackson, TN 38302-2004

73 1-424-0461

5555-40-CHB; Page 2

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:03-CV-01267 Was distributed by faX, mail, or direct printing on
June 21, 2005 to the parties listed.

ESSEE

 

Lisa A. Houston

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

Jackson, TN 38302--200

Charles H. Barnett

SPRAGINS BARNETT COBB & BUTLER
P.O. Box 2004

Jackson, TN 38302--200

Walter W. Bussart
BUSSART & MEDLEY
520 N. Ellington PkWy.
LeWisburg, TN 37091

Honorable J ames Todd
US DISTRICT COURT

